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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 22-cr-15 (APM)
                                              :
ROBERTO MINUTA,                               :
                                              :
                       Defendant.             :

       GOVERNMENT’S OPPOSITION TO DEFENDANT ROBERTO MINUTA’S
                 MOTION TO CONTINUE SENTENCING

       The United States, by and through its undersigned counsel, respectfully opposes Defendant

Roberto Minuta’s motion to continue sentencing, ECF No. 482. Defendant Minuta cites his

counsel’s status as standby counsel in the matter of United States v. Brandon Fellows, Case No.

21-cr-83-TNM, which is set for trial on May 22, 2023, as his reason for a continuance. The trial

date in the Fellows matter was scheduled on November 22, 2022, and thus was known to counsel

at the time the parties discussed, and the Court established, the sentencing schedule in this case.

The government therefore opposes the request for a continuance.

       The government’s position is that the Court should not postpone the omnibus sentencing

hearing scheduled for May 24, 2023, because (a) it was coordinated around the schedules of all

parties, including counsel for nine separate defendants, and (b) it is both important and efficient

for issues that impact multiple defendants, including Guidelines calculations and victim impact

statements, to be addressed at a single hearing.

       The government’s position is, further, that the Court should not postpone Defendant

Minuta’s specific sentencing hearing, scheduled for June 1, 2023, or the deadline for his sentencing

memorandum. For both efficiency and fairness, the sequencing of the filing of sentencing

memoranda and the conducting of sentencing hearings ought to remain consistent. See ECF No.
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468 (Feb. 2, 2023 Amended Omnibus Order for Remaining Post-Trial Filings and Proceedings).

And Defendant Minuta’s motion does not identify why the start of the Fellows trial on May 22,

2023, ought to impact his counsel’s availability to file a sentencing memorandum by May 5, 2023.

       WHEREFORE, the United States respectfully opposes Defendant Minuta’s motion to

continue sentencing.



                                    Respectfully submitted,

                                    MATTHEW M. GRAVES
                                    UNITED STATES ATTORNEY
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                             By:            /s/
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